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  8
                              UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT OF CALIFORNIA
 10
      DC COMICS,                                 Case No. CV 10-03633 ODW (RZx)
 11
                 Plaintiff,                      DC COMICS’ NOTICE OF
 12                                              MOTION AND MOTION FOR AN
           v.                                    EVIDENTIARY HEARING AND
 13
    PACIFIC PICTURES CORPORATION,                SANCTIONS, INCLUDING
 14 IP WORLDWIDE, LLC, IPW, LLC,                 TERMINATING SANCTIONS,
    MARC TOBEROFF, an individual,                APPOINTMENT OF SPECIAL
 15 MARK WARREN PEARY, as personal               MASTER, AND OTHER RELIEF
    representative of the ESTATE OF
 16 JOSEPH SHUSTER, JEAN ADELE                   DECLARATION OF DANIEL M.
    PEAVY, an individual, LAURA
 17 SIEGEL LARSON, an individual and as          PETROCELLI AND [PROPOSED]
    personal representative of the ESTATE        ORDER SUBMITTED
 18 OF JOANNE SIEGEL, and DOES 1-10,             CONCURRENTLY HEREWITH
    inclusive,
 19                                              Hon. Otis D. Wright II
                 Defendants.
 20
                                                 Hearing Date:     Nov. 12, 2012
 21                                              Hearing Time:     1:30 p.m.
                                                 Courtroom:        11
 22
 23
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 27
 28
                                                      DC’S MOT. FOR EVIDENTIARY HR’G RE
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  1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2           PLEASE TAKE NOTICE that on November 12, 2012, at 1:30 p.m., or as
  3   soon thereafter as the matter may be heard by the above-entitled Court, located at
  4   312 North Spring Street, Los Angeles, California in Courtroom 11, plaintiff DC
  5   Comics will and hereby does move this Court for an evidentiary hearing to address
  6   defendants’ discovery misconduct.
  7           This Motion is made pursuant to the Court’s inherent authority to prevent
  8   abuses of the litigation process, Federal Rules of Civil Procedure 1, 26(b)(b), 37(b),
  9   and 53(a)(1)(C), Local Rules 11-9 and 83-7, and this Court’s admonition, in its
 10   standing order, that “the responsibility for the progress of litigation falls not only
 11   upon the attorneys in this action, but upon the Court as well.” DN 18.1 As set forth
 12   in the accompanying Motion, defendants—through defendant Marc Toberoff as
 13   defendant, counsel of record to other defendants, and counsel to material third-party
 14   witnesses and custodians—have systematically suppressed relevant evidence.
 15   Defendants refused to disclose the existence or nature of key evidence; submitted
 16   false and misleading privilege logs to mask or conceal non-privileged documents;
 17   and made affirmative misrepresentations—including under oath—about the
 18   existence, location, and provenance of evidence. Defendants’ misconduct “clearly
 19   impair[s] [DC]’s ability to go to trial and threaten[s] to interfere with the rightful
 20   decision of the case.” Anheuser-Busch, Inc. v. Natural Beverage Distribs., 69 F.3d
 21   337, 353 (1995) (emphasis in original).2
 22           In light of this misconduct, DC requests that this Court schedule and conduct
 23   an evidentiary hearing for the purpose of presenting live testimony and argument on
 24   these issues. Wyle v. R.J. Reynolds, 709 F.2d 585, 592 (9th Cir. 1983) (evidentiary
 25   hearing “best determines the appropriate sanctions”); Computer Task Grp., Inc. v.
 26   Brotby, 364 F.3d 1112, 1114 (9th Cir. 2004) (affirming terminating sanctions
 27     1
            All cites to “DN” are to the Docket in this case.
        2
 28         All emphases are added unless otherwise noted.
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  1   imposed after “three-day hearing”); Valley Engr’s, Inc. v. Electric Eng’g Co., 158
  2   F.3d 1051, 1054 (9th Cir. 1998) (same; “two days of hearings”); Anheuser-Busch,
  3   69 F.3d at 343 (same; “extensive evidentiary hearing”); N. Am. Watch Corp. v.
  4   Princess Ermine Jewels, 786 F.2d 1447, 1449 (9th Cir. 1986) (same; “several”
  5   hearings). Following that hearing, or based solely on the record of discovery
  6   misconduct detailed in DC’s Motion, this Court should impose appropriate
  7   sanctions against defendants, including terminating sanctions, e.g., Valley Eng’rs,
  8   158 F.3d 1051; the appointment of a special master under FED. R. CIV. P.
  9   53(a)(1)(C); a finding of a waiver of privilege over all withheld documents, e.g.,
 10   Teleglobe USA Inc. v. BCE Inc., 493 F.3d 345, 386 (3d Cir. 2007); Get-A-Grip, II,
 11   Inc. v. Hornell Brewing Co., 2000 WL 1201385, at *3 (E.D. Pa. Aug. 8, 2000); and
 12   evidentiary and monetary sanctions, e.g., FED. R. CIV. P. 37(b)(2)(A), (C); Leon v.
 13   IDX Sys. Corp., 464 F.3d 951, 961 (9th Cir. 2006).
 14         This Motion is made following several conferences of counsel, including an
 15   in-person meeting on July 17, 2012 (with defendant Marc Toberoff participating via
 16   telephone), concerning defendants’ discovery misconduct and DC’s request for
 17   relief. Decl. of Daniel M. Petrocelli (“PD”) Part I; Exs. 1-11. The motion is based
 18   on this Notice of Motion and Motion; the accompanying Memorandum of Points
 19   and Authorities; the concurrently filed Declaration of Daniel M. Petrocelli and
 20   exhibits in support thereof; any additional briefing that may be filed pursuant to the
 21   Rules; all exhibits, files, and records on file in this action; matters of which judicial
 22   notice may be taken; and such additional submissions and argument as may be
 23   presented at or before the hearing on this motion.
 24   Dated:       October 10, 2012                  Respectfully Submitted,
                                                     O’MELVENY & MYERS LLP
 25
                                                     By: /s/ Daniel M. Petrocelli
 26
                                                       Daniel M. Petrocelli
 27                                                    Attorneys for Plaintiff DC Comics
 28
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  1   I.    INTRODUCTION
  2         Plaintiff DC Comics brings this motion for an evidentiary hearing and other
  3   relief to redress defendants’ willful concealment of evidence in this case by
  4   defendant Marc Toberoff. Notwithstanding Toberoff’s calculated scheme to
  5   conceal evidence—necessitating years of untold time, money, and valuable court
  6   resources—DC has uncovered key letters establishing that Toberoff fraudulently
  7   induced the Siegel defendants to break their 2001 agreement with DC and enter into
  8   a new agreement with Toberoff and his business partners instead. The nature and
  9   even existence of these documents were covered up by Toberoff through a
 10   systematic course of deceptive conduct dating back to the Siegel lawsuit filed
 11   against DC by Toberoff on behalf of the Siegels, and continuing throughout this
 12   case. Toberoff withheld documents in violation of court orders, submitted
 13   fraudulent privilege logs to conceal non-privileged documents, falsely denied the
 14   existence and defendants’ possession of documents and, when questioned about this
 15   by DC and the Court, responded with false and misleading explanations.
 16         The evidence that has now come to light is particularly probative of DC’s
 17   Fifth Claim. This asserts that DC made a binding settlement deal with the Siegels
 18   (through their lawyer Kevin Marks) in October 2001, and that Toberoff tortiously
 19   interfered with that deal by falsely promising that a “billionaire investor” would pay
 20   the Siegels $15 million in cash, plus other consideration, if the Siegels repudiated
 21   their agreement with DC and made a new deal with Toberoff and his business
 22   partners. At the outset of this case in 2010, DC served document requests directed
 23   to this claim and secured a stipulated court order requiring immediate production.
 24   In response, defendants represented to DC and the Court that “to the extent that
 25   relevant documents exist, they have either been produced or designated as
 26   privileged.” This was false. Toberoff withheld at least five critical documents
 27   responsive to the 2010 Court order. None of these documents was previously
 28   produced or privileged—all were suppressed in violation of the Court’s order.

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  1         But Toberoff’s misrepresentations went far beyond that. To prove that the
  2   requested documents did not exist, Toberoff called DC’s “billionaire investor”
  3   claim a “mockery,” and explicitly represented to DC and the Court that “[t]here are
  4   no documents related to an offer by a ‘billionaire investor’ to purchase the Siegels’
  5   Superman rights, because no such offer was ever conveyed, and the sworn
  6   testimony of the relevant witnesses is consistent on this point.” These
  7   representations were knowingly false: the recently disclosed letters between Laura
  8   Siegel and her half-brother Michael Siegel specifically discuss that Toberoff made
  9   false promises of a “billionaire investor” and his alleged $15-million-plus offer.
 10         Chief among these long-concealed, responsive letters are the following:
 11         • A November 2002 letter from Laura to Michael recounting how after the
 12            Siegels cut their ties with DC “the billionaire investor who was offering
 13            $15 million” disappeared.
 14         • A May 2003 letter from Michael to Laura explaining how, in the fall of
 15            2001, “Marc [Toberoff] had a mysterious billionaire who wanted to invest
 16            in the Superman copyright” and how this offer was bogus.
 17         • And a July 2003 letter, in which Laura makes the admission—devastating
 18            to defendants’ position in the Siegel case and this case—that Marks told
 19            her in 2002 she “had a deal with TimeWarner/DC” and that she could not
 20            rightly accept Toberoff’s competing business offer. DN 455 at 3, 9.
 21         Toberoff concealed these letters and other evidence in several ways.3 He
 22   represented to DC and the Court that he did not possess the November 2002 letter,
 23   but Michael’s former lawyers exposed this falsehood. They kept an electronic copy
 24   of Michael’s files—a paper copy of which they gave his estate and Toberoff in
 25   2006. This electronic file and other evidence established that Toberoff was sent a
 26
        3
 27       Toberoff’s counsel of record in this case disclaims responsibility for Toberoff’s
      discovery conduct, advising they “divided” labor and Toberoff alone “handle[d]
 28   document production [and] the preparation of privilege logs.” PD ¶¶ 7-8; Exs. 7, 9.

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   1   copy of the November 2002 letter in 2006, yet did not log it or produce it to DC.
   2   Likewise, when DC moved to compel production of the May 2003 letter, Toberoff
   3   refused to acknowledge if he had a copy of the letter or if it existed. Only after
   4   another Court order did Toberoff produce the letter—which he possessed for years.
   5           Toberoff’s conduct regarding the July 2003 letter from Laura to Michael
   6   exposes a clear-cut fraud on DC and the Court—he repeatedly concealed it behind
   7   privilege log entries that make no mention of any such letter:
   8
   9
 10    These bogus privilege log entries directly defied the Court’s instructions and orders.

 11    In preparing this log—which Toberoff submitted in the Siegel case and again in this

 12    case—the Court directed Toberoff to review his privilege claims and “to the extent

 13    that there are any documents where you have not identified all the people who

 14    received it, you will supplement that and indicate it, correct?” Id. Ex. 40 at 644:9-

 15    13. Toberoff responded, “Absolutely, Your Honor.” Id. Toberoff defied this

 16    order, never listed Michael as a recipient, and when DC pressed Toberoff to

 17    produce all correspondence between Laura and Michael, including the July letter,

 18    he continued to deliberately mislead DC and the Court about these documents. And

 19    this is not all; still other Michael-Laura correspondence exists, including an October

 20    2002 letter mentioned in the November letter, which Toberoff has yet to produce.

 21            Toberoff’s demonstrable misconduct “clearly impair[s] [DC]s ability to go to

 22    trial and threaten[s] to interfere with the rightful decision in the case.” Anheuser-

 23    Busch, Inc. v. Natural Beverage Distributors, 69 F.3d 337, 353 (9th Cir. 1995).

 24    The evidentiary hearing DC seeks in this motion is required to expose the full range

 25    of Toberoff’s misconduct and to bring it to a halt. E.g., id. at 343; Wyle v. R.J.

 26    Reynolds, 709 F.2d 585, 592 (9th Cir. 1983) (hearing “best” method to “determine

 27    appropriate sanctions” for discovery misconduct).4 After years of obstruction and
         4
 28          Accord Computer Task Grp., Inc. v. Brotby, 364 F.3d 1112, 1114 (9th Cir.

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   1   delay, DC should not be forced to endure further barriers to obtaining important
   2   evidence. Time has run out in this case; immediate relief is required.
   3   II.   TOBEROFF’S SEVEN-YEAR COURSE OF MISCONDUCT
   4         “In evaluating the propriety of sanctions,” courts “look at all incidents of a
   5   party’s [discovery] misconduct,” Adriana Int’l Corp. v. Thoeren, 913 F.2d 1406,
   6   1411 (9th Cir. 1990), including in related cases, e.g., Valvanis v. Milgroom, 2008
   7   U.S. Dist. LEXIS 104809, at *19, 22-23 n.12 (D. Haw. Dec. 30, 2008) (“conduct in
   8   [prior] Bankruptcy Action is relevant in determining [party’s] intent”); Conn. Gen.
   9   Life Ins. Co. v. New Images of Beverly Hills, 482 F.3d 1091, 1097 (9th Cir. 2007)
 10    (describing how party was sanctioned in previous case and remarking that “this
 11    appeal is a continuation of that pattern”). Toberoff’s years of discovery misconduct
 12    in Siegel and this case—cases he just last week called one and the same, DN 495-4
 13    at 2—all justify the evidentiary hearing and other relief that DC seeks.5
 14          A.     Relevant Background Regarding The Superman Litigation
 15          Jerry Siegel and Joe Shuster co-created Superman in 1938 and assigned all
 16    copyrights in it to DC. Neither man, despite a long history of litigation against DC,
 17    ever sought to terminate DC’s copyrights. DN 184 at 308; 458 at 3-5. Joe’s sister
 18    and sole heir, Jean, settled any such claim through a 1992 Agreement with DC. DN
 19    458, 491. After Jerry died in 1996, his daughter Laura sought to terminate DC’s
 20    copyrights in a handful of early Superman works. DN 184 at 3-8; 458 at 3-5. DC
 21    2004) (affirming terminating sanctions imposed after “three-day hearing”); accord
 22    Valley Engr’s, Inc. v. Electric Eng’g Co., 158 F.3d 1051, 1054-55 (9th Cir. 1998).
          5
            Throughout this case, defendants have insisted that discovery proceedings and
 23    rulings from Siegel, Case No. CV-04-8400, apply here because they are “so closely
 24    related as to be considered properly part of the same case.” DN 495-4 at 2. As
       explained in this Motion, the evidence that has come to light demonstrates that
 25    Toberoff and the Siegels concealed evidence and violated court orders in Siegel as
       well. In doing so, they not only covered up evidence that undercut their claims and
 26    would have exposed Toberoff’s business frauds, they misled the Court in obtaining
 27    critical substantive and discovery rulings that they have successfully invoked as
       “law of the case” in this action. E.g., DN 209. As shown below and DC’s Consent
 28    Agreement motion (filed today), they have misled the Court in this case as well.

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   1   contested the Siegels’ termination, and the parties spent years negotiating business
   2   terms to resolve the dispute. In October 2001, through their lead negotiator Kevin
   3   Marks, the Siegels and DC reached what Marks called a “monumental accord,” in
   4   which DC retained all rights in Superman and agreed to pay the Siegels $3 million
   5   in up-front and other monies. PD Exs. 23, 24, 64 at 1284-86, 68 at 1450-54.
   6         Around this same time, Toberoff “set his sights on Superman.” In re Pacific
   7   Pictures Corp., 679 F.3d 1121, 1124 (9th Cir. 2012); PD Ex. 64 at 1287-88. In
   8   November 2001, he induced Joe Shuster’s nephew Mark Warren Peary and sister
   9   Jean to enter into a joint venture agreement with Toberoff’s company Pacific
 10    Pictures and to assign to the Venture all of the Shusters’ putative Superman rights.6
 11    Also in November 2001, Toberoff directly contacted Marks and Michael Siegel,
 12    trying to secure the Siegels’ rights, DN 493-7 at 787-88, even though he had heard
 13    reports the Siegels had made a deal with DC. PD Ex. 87 at 2626:21-2629:12. In a
 14    February 2002 call with Toberoff, Marks confirmed the reports, and told Toberoff
 15    the Siegels had a deal with DC. PD Ex. 84 at 2565:18-2567:20, 2571:13-22.
 16          Undeterred, Toberoff kept after Marks. In July 2002, Toberoff represented to
 17    Marks—falsely—that he had a wealthy investor willing to buy the Siegels’ putative
 18    Superman rights for $15 million and “back-end” monies. PD Exs. 27 at 338; 84 at
 19    2572:7-2574:25. Marks reiterated to Toberoff that the Siegels had a deal with DC,
 20    the deal was being documented, and the Siegels could not entertain Toberoff’s
 21    offer. PD Exs. 27 at 338-39; 32 at 418. Marks also told the Siegels that DC would
 22    likely sue them and Toberoff if they accepted Toberoff’s offer. Id. But seduced by
 23    Toberoff’s false promises, the Siegels repudiated the deal with DC and signed a
 24    new one with Toberoff, his company IP Worldwide, and his then business partner,
 25
         6
           The Ninth Circuit noted Toberoff’s dealings with the heirs raised “ethical”
 26    concerns, Pacific Pictures, 679 F.3d at 1124, as did a law firm that advised him, PD
 27    Exs. 29, 30 (unconscionable fees; conflicts of interest). Toberoff admits the Pacific
       Pictures contracts are “not lawful,” DN 147-1 at 2, 8; 305-37 at 1327:5-13, and this
 28    Court rightly noted the deals “gut” Jean’s 1992 Agreement with DC, DN 337 at 3.

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   1   Ari Emanuel. PD Ex. 64 at 1287-88. As subsequent events revealed, Toberoff’s
   2   unnamed, “billionaire” investor did not exist, no $15 million payment was made,
   3   there was no back-end deal, and the rights were never marketed. PD Ex. 57; DN
   4   394 at 14-17; 427 at 5-7; 439 at 1-2; 451 at 1-2.
   5         Instead, having cornered the Siegel and Shuster interests, Toberoff sat and
   6   waited. Then, two years later he sued DC on behalf of the Siegels to enforce their
   7   termination. PD Ex. 33. DC countersued, asserting the Siegels were bound by their
   8   2001 deal with DC. PD Ex. 34 at 509-10. The Siegels claimed there was no
   9   binding deal and moved for summary judgment. PD Ex. 47 at 792-808. Without
 10    access to the evidence Toberoff was concealing—which undermined the Siegels’
 11    essential claim—the district court ruled in the Siegels’ favor on DC’s settlement
 12    defense. That ruling is now before the Ninth Circuit. PD Exs. 50, 64, 6.
 13          Nine months after the district court ruled in Siegel, the Toberoff Timeline
 14    was ordered produced. PD Ex. 53. It disclosed that Marks told the Siegels and
 15    Toberoff in late 2002 that the Siegels had a “deal” with DC and were not free to
 16    make a new deal with Toberoff. PD Ex. 22 at 311. Toberoff claimed the Timeline
 17    was a “hit piece,” and refused to produce the underlying documents it disclosed,
 18    asserting they did not exist or were privileged. DN 225 at 13-14.
 19          In May 2010, DC filed this case. Only in the past two years, after countless,
 20    costly discovery disputes, has it finally come to light how Toberoff suppressed
 21    damning evidence in violation of Court orders, his legal duties, and DC’s rights.
 22          B.      2005 to 2009: Toberoff Hides Critical Evidence In Siegel
 23               1. Toberoff Conceals The Michael-Laura Letters
 24          DC’s first requests for documents in Siegel served in 2005 specifically called
 25    for all communications between Michael Siegel and Laura and/or Joanne Siegel
 26    relating to Superman. PD Ex. 35 at 534. Toberoff (on behalf of the Siegels) agreed
 27    to produce “all non-privileged documents” in response to DC’s discovery requests,
 28    including requests that called for communications with Michael. PD Ex. 36 at 566.

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   1   DC served similar requests on Toberoff, Michael’s Estate and lawyers, but Toberoff
   2   intervened, took control of all the productions, and made all discovery responses
   3   himself. PD Exs. 42-45; DN 455 at 4-5; 477 at 1-7.
   4         Though plainly responsive, Toberoff produced no Michael-Laura letters in
   5   response to these discovery demands. For a year he produced no privilege log
   6   either. PD Ex. 39 at 615. DC moved to compel, and while Toberoff promised in
   7   response to produce a “detailed privilege log,” PD Ex. 37 at 603-04, the logs he
   8   prepared and submitted—for the Siegels, for himself, and for Michael’s Estate and
   9   lawyers—listed no communications between Michael and Laura. DN 332 ¶ 2. DC
 10    asked that Toberoff be ordered to correct his logs to include basic bibliographic
 11    information, such as all recipients of documents. PD Ex. 39 at 616. The Court
 12    agreed and ordered Toberoff to do so on August 18, 2006. Id. Ex. 41 at 66.
 13             2. Toberoff Violates The Court’s Privilege Log Order
 14          Toberoff produced revised logs that identified no letters between Michael
 15    and Laura. DN 317-2. As subsequent events reveal, Toberoff engineered the logs
 16    to conceal these damaging letters and other non-privileged evidence, in violation of
 17    the Court’s order. First, the logs contained false descriptions. Toberoff logged
 18    multiple documents under one entry number, typically a fax cover sheet. Because
 19    the fax itself was ostensibly an attorney-client communication, the entry appeared
 20    to reflect a protected communication. In reality—and as we only learned last
 21    year—these entries concealed attachments, which were never logged and were not
 22    privileged in any event. Thus, far from identifying all the “recipients” for each
 23    document as the Court’s order required, the log failed even to list each document
 24    withheld. In this way, Toberoff concealed Laura’s July 2003 letter to Michael.
 25    Supra at 2; DN 160 at 30-38; 171 at 3-4; 209 at 11-12; 225 at 13-17; 243 at 10-12;
 26    252; 253 at 1-9; 274 at 1-8; 285; 316 at 1-20; 317 at 1-5; 323; 329 at 1-5; 332 at 1-
 27    9; 336. Below is the log entry that Toberoff used to cover up the July 2003 letter,
 28    DN 317-3 at 8—it makes no mention of a letter to Michael from Laura, id.:

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   1
   2
             Second, in instances where his fax-cover-sheet artifice was not available,
   3
       Toberoff concealed documents by choosing not to produce or log them at all. The
   4
       November 2002 letter from Laura to Michael falls in this category. Supra at 2; DN
   5
       394, 427, 439, 451, 455, 457, 477, 488. Indeed, in obtaining the November letter a
   6
       few months ago, DC learned that Toberoff failed, for some five years, to log over
   7
       224 documents he received from Michael’s files, including the November 2002
   8
       letter and a key November 2001 email that Toberoff authored. Id.; infra at 19-21.
   9
                3. A Third Party Exposes Toberoff’s Concealment Of Documents
 10
             In June 2006, Warner Bros. received a memo titled “Superman - Marc
 11
       Toberoff Timeline,” along with supporting exhibits. DN 49, Ex. A. The memo
 12
       summarizes the supporting documents and describes Toberoff’s “potentially
 13
       questionable conduct.” DN 42-14 at 213. The Court concluded Warner Bros. acted
 14
       “responsibly” in handling the materials by giving them to an escrow—even though
 15
       the cursory review allowed by law revealed that many of the enclosures were
 16
       responsive, non-privileged documents Toberoff had failed to produce, including
 17
       Michael-Laura correspondence. Id.; DN 163-12 at 736-40; 163-13 at 760:3-7.
 18
             a. In response to DC’s request, Toberoff refused to produce the non-
 19
       privileged documents that accompanied the Timeline or provide a privilege log for
 20
       any that were privileged. In March 2007, DC moved for this relief and a ruling that
 21
       Toberoff waived any privilege over documents he previously failed to log pursuant
 22
       to the Court’s August 18 order. DN 163-12, Ex. TT ¶ 9; 164-1, Ex. B ¶ 3. In
 23
       opposition, Toberoff submitted a March 2007 declaration stating: “I have reviewed
 24
       the [Timeline] documents and compared them to my firm’s legal files. I found that
 25
       all but two non-privileged documents in Plaintiffs’ legal files had long ago been
 26
       produced or listed by Plaintiffs in a privilege log.” DN 477-2 at 90 ¶ 22. In other
 27
       words, Toberoff told the Court that every responsive, non-privileged document had
 28
       been produced, and every privileged document had been logged except for two.
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   1         This declaration was materially false, as recent events have now shown. No
   2   fewer than four copies of the May 2003 letter from Michael to Laura, supra at 2—
   3   over which defendants admittedly never claimed privilege, DN 288 at 18:4-16—
   4   were among the Timeline documents, and Toberoff failed to identify, produce, or
   5   log any of them. DN 253 at 1-5; 477-2 at 119-45. Moreover, five copies of the July
   6   2003 letter were among the Timeline documents, and Toberoff never identified,
   7   produced, or logged any copy of either. DN 329, 332, 366. Infra at 15-18.
   8         b. Toberoff compounded this deception. At an April 30, 2007 hearing, he
   9   told the Court “I went through every single one of [the Timeline documents] … and
 10    found [only] two documents that were non-privileged that hadn’t been produced
 11    that consisted of letters from plaintiffs to DC Comics, which I produced.” DN 317-
 12    4 at 65:25-66:5. The Court pressed Toberoff: “you went through these
 13    whistleblower documents, and … you verified that each of the whistleblower
 14    documents either had been produced or had been listed on the privilege log.” Id. at
 15    66:17-19. Toberoff’s responded unequivocally: “That is the case, your Honor, and
 16    that was certainly my intention to say that [in my declaration], and I’m saying that
 17    now.” Id. at 66:21-23. This was false: nine copies of the May/July letters were
 18    among the Timeline documents Toberoff possessed; he produced or logged none.
 19          c. Despite Toberoff’s assurances, the Court still found that his declaration
 20    left some “wiggle room” and, wanting no room for doubt, ordered Toberoff to:
 21          submit a declaration that does identify by the Bates numbers of the
             [Timeline] documents and the corresponding Bates numbers of
 22          documents already produced, those among the [Timeline] documents
             which are unprivileged and have already been produced. Id. at 74:12-
 23          75:5.
 24    Toberoff protested, arguing the order required him to “prove that I’m not lying,” id.
 25    at 75:12-13—precisely what he was doing, as events later confirmed.
 26          Toberoff then submitted a second declaration. In this May 2007 filing,
 27    Toberoff swore “I have accounted for each [Timeline] Document[] as bate[s]
 28    stamped by [escrow] John Quinn, Esq. (designated by ‘Q’) and identified by bates
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   1   numbers the Documents produced to [DC] by [the Siegels] or third party witnesses,
   2   as applicable, or listed in a privilege log furnished to [DC] by [the Siegels] and/or
   3   such third parties….” DN 42-14 at 195 ¶ 2. This declaration was also materially
   4   false. Putting aside that he asserted new privilege claims over seven additional
   5   documents (belying his March 23 declaration that only “two documents” were
   6   neither produced nor logged), compare id. at 195-204, with DN 42-14 at 218-21,
   7   Toberoff perpetuated his concealment of the Michael-Laura letters. As an example,
   8   if Toberoff had complied with the April 30 Court order, he would have identified
   9   the four copies of the May 2003 letter included among the Timeline documents—as
 10    well as each of its recipients—but Toberoff identified none. Now that the May
 11    2003 letter has been disclosed, we know that the first copy of it was Bates stamped
 12    “Q32-33.” PD Ex. 28. But Toberoff’s declaration described pages Q32-33, and the
 13    five preceding pages, as Siegel privilege log entry #82, DN 42-14 at 196:
 14
 15    Privilege log entry #82, however, does not identify a May 2003 letter from Michael
 16    to Laura, but rather, a July 11, 2003, fax from Laura to Toberoff, DN 317-2 at 8:
 17
 18    Toberoff buried another copy of the May 2003 (Q139-40) letter in this same way:
 19
 20    DN 42-14 at 197. Entry #79, however, once again identifies not a May 2003 letter
 21    from Michael, but a different July 2003 fax from Laura to Toberoff, DN 317-2 at 8:
 22
 23
             Toberoff used the same deception to conceal the July 2003 letter. There were
 24
       five copies of this letter from Laura to Michael among the Timeline documents, PD
 25
       Ex. 32, yet not one copy appears in Toberoff’s May 2007 declaration or any of the
 26
       logs Toberoff prepared. One of the copies is “Q483-88.” Id. Toberoff hid this
 27
       copy of the July letter behind log entries 82 and 83, DN 42-14 at 200:
 28

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   1   Again, entries 82 and 83 identify two July 11, 2003, faxes from Laura to Toberoff,
   2   with no mention of the July 11, 2003, letter from Laura to Michael, DN 317-2 at 8:
   3
   4
   5         Toberoff employed this same fraudulent device to conceal the six other
   6   versions of the May and July 2003 letters, as well as nine copies of July 5 drafts of
   7   the July 2003 letter. DN at 477-2 at 102-13, 119-35; infra at 15-19. In all, 18
   8   pieces of actual or draft correspondence between Michael and Laura were included
   9   in the Timeline documents and not one was identified; Toberoff hid them all.
 10             4. Toberoff Conceals His Violation Of The April 30 Order
 11          The Court’s April 2007 order required the escrow agent “to return to the
 12    [Siegels] any documents which are identified in [Toberoff’s] declaration as being
 13    privileged and having been identified on the privilege logs.” DN 317-4 at 74:23-
 14    75:1. In late 2008, the escrow asked whether he could “compare the description of
 15    each document in the privilege log to the corresponding [Timeline] document” to
 16    ensure documents were, in fact, logged as Toberoff had sworn. DN 42-14 at 219.
 17          Realizing such review would expose his concealment of other documents,
 18    Toberoff objected. PD Exs. 51, 52. Unaware of Toberoff’s false representation as
 19    an officer of the court that he had complied with its April 30 order, the Court
 20    sustained Toberoff’s objection. DN 42-14 at 221. Through his deception, Toberoff
 21    succeeded in misleading the Court and forestalling disclosure of the May and July
 22    2003 letters—and other damning evidence—for several years.
 23             5. Toberoff Seizes Control Of Third-Party Witness Files
 24          Toberoff also thwarted DC’s discovery of documents held by Michael, his
 25    Estate, and their attorneys. Following Michael’s death in 2006, and because Laura
 26    was Michael’s sole heir, Toberoff asserted that he—and not the Ohio law firm of
 27    Renner Otto (Michael’s lawyers) or Michael’s Estate—must respond to DC’s
 28    subpoenas on Renner and the Estate. PD Exs. 42-43, 48-49. Toberoff refused to

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   1   produce scores of documents in their possession, and made overreaching claims of
   2   privilege. Just like the logs he prepared for himself and the Siegels, Toberoff
   3   prepared logs for Renner and the Estate that identified no communications between
   4   Michael and Laura, including their May and July 2003 correspondence. PD Ex. 46.
   5   As to the documents Toberoff did log, DC contested whether 15 letters and emails
   6   Toberoff exchanged with Don Bulson (a Renner lawyer) were privileged. Toberoff
   7   told the Ohio federal court the documents were “clearly” and “classic” privileged
   8   materials under “bedrock principles” of law. DN 161-4 at 26, 27. The Ohio court
   9   reviewed the documents and ordered Toberoff “immediately” to produce them,
 10    finding that Toberoff’s business negotiations with Bulson were not privileged.7
 11          This ruling did not curtail Toberoff’s misconduct. As the Ninth Circuit noted
 12    in 2012, “most of [the Timeline] documents [Toberoff refused to produce] are not
 13    covered by attorney-client privilege because they do not represent communications
 14    between a lawyer and his client for the purpose of obtaining legal advice,” but were
 15    business-related communications. Pacific Pictures, 679 F.3d at 1125, 1129.
 16    Moreover, despite the Ohio court’s rejection of Toberoff’s assertion of privilege
 17    between Michael and Laura during this time (2003) and concerning the same issues
 18    (Toberoff’s effort to buy Michael’s rights), Toberoff continued to suppress Michael
 19    and Laura’s May and July 2003 letters, which fit these very same parameters.
 20             6. Toberoff Obtains Partial Summary Judgment On A False Record
 21          Having concealed evidence that Marks told the Siegels and Toberoff that the
 22    Siegels had a “deal” with DC, Toberoff secured summary judgment for the Siegels
 23    on DC’s settlement defense in March 2008. DC’s appeal of this decision—based
 24      7
           DN 161-5 at 30-31 (documents “relate to the offers back and forth between
 25    Toberoff, on behalf of an investor who wishes to purchase Michael Siegel’s interest
       and Bulson on behalf of Michael Siegel”). The Court denied DC other documents
 26    on the ground of relevance to the accounting issues in Siegel. DN 161-7. Bulson
 27    later testified Toberoff misled him in these business discussions, DN 305-52 at
       1863-1867:2, 1874:25-1881:7, 1925:5-19, consistent with Toberoff’s lack of candor
 28    with DC, the Courts, see supra & infra, and the Copyright Office, DN 491 at 19-25.

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   1   on a still incomplete record facilitated by Toberoff’s suppression of evidence, PD
   2   Ex. 66-72, 75—is set for oral argument next month.8
   3            7. Toberoff Misleads DC And The Court To Avoid Reopening Discovery
   4         Although the Timeline should have been produced in April 2007, Toberoff
   5   withheld it from DC until it was ordered produced in December 2008. DN 42-14 at
   6   218-21. By then, summary judgment had been granted against DC on its pivotal
   7   settlement defense. The Timeline revealed that Marks had told the Siegels (in his
   8   “Marks Memo”) that they had a “deal” with DC, and that they could not abandon
   9   that deal in favor of Toberoff’s business offer. DN 49, Ex. A at 63; PD Ex. 27.
 10          Based on the emergence of the Timeline (but still without having obtained
 11    the underlying documents), DC moved to reopen discovery and retake Marks’
 12    deposition. DN 368-2 at 37-38, 42-61. In successfully opposing DC’s motion,
 13    Toberoff called the Timeline a pack of lies. Id. at 37-38. And he filed a sworn
 14    declaration, dated March 2, 2009, attesting that he reviewed Marks’ deposition and
 15    the Marks Memo, and the Memo “reveals no inconsistency with Marks’ testimony
 16    regarding the alleged settlement agreement.” PD Ex. 54 at 971 ¶ 32.
 17          This was false, as now confirmed by the recent production of the Marks
 18    Memo following the Ninth Circuit’s ruling in Pacific Pictures in 2012. The Memo,
 19    written in August 2002, told the Siegels “an agreement was reached last October
 20    with D.C. Comics, albeit subject to documentation.” DN 427-3 at 253. Marks
 21    warned the Siegels if they struck a new deal with Toberoff “there would be a
 22    genuine risk of litigation against the Siegel family (and Toberoff/ Emanuel) by
 23    D.C.,” and Marks would have to testify “that an agreement was reached.” Id. at
 24    253-54. Marks told the Siegels to “stay the course” with DC and continue
 25
         8
           Because the prejudice to DC (including its litigation fees and costs) cannot be
 26    fully cured even if the Ninth Circuit rules in its favor on appeal, DC anticipates it
 27    will need to revisit sanctions and evidentiary issues in Siegel on remand, no matter
       the result on appeal, including under the Court’s discovery sanction rules and its
 28    power to correct judgments—partial or otherwise—under, e.g., FED. R. CIV. P. 60.

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   1   documenting their “deal”—“the right thing to do….” Id. at 254. At his 2006
   2   deposition, Marks suggested the October 2001 deal with DC ceased to bind the
   3   Siegels when DC sent them a February 2002 draft long-form. PD Ex. 84 at
   4   2568:12-14 (“if the question is did I think at this point [February 2002] there was a
   5   final, binding, enforceable agreement, the answer would be no but I did believe that
   6   we had come to an agreement back on October 19th, 2001…”). Marks’ testimony
   7   conflicts with his Memo, written six months after February 2002, in which he told
   8   the Siegels they had a “deal” with DC and never said they could renounce the 2001
   9   deal because of the February 2002 draft or otherwise. DN 427-3 at 253-54. The
 10    emergence of the Marks Memo is clear proof Toberoff materially misled the Court
 11    under oath, to avoid discovery into both his misconduct and the Siegels’ claims.
 12          C.     2010 to 2012: Toberoff’s Misconduct Continues In This Case
 13           DC did not learn until the Timeline was ordered produced in December 2008
 14    and discovery in this case of the fraudulent steps Toberoff took to break up DC’s
 15    2001 deal with the Siegels. As alleged in DC’s Fifth Claim, Toberoff used the false
 16    promise of an offer from an unnamed (and non-existent) investor to get the Siegels
 17    to break their deal with DC. Toberoff responded to this claim with feigned outrage:
 18         • He told this Court (in SLAPP briefs and motions to stay discovery) and the
 19      Ninth Circuit (in four failed appeals) that DC’s “billionaire investor” claim is a
 20      “mockery,” “contrary to all evidence,” based on the “untrustworthy and
 21      inadmissible Timeline,” and no “further discovery” would prove DC’s claim.
 22      DN 196 at 1-5, 10; 312 at 3; 477-2 at 103-09, 121-27, 131-33.
 23         • He said the only offer conveyed to the Siegels came from his then partner,
 24      Emanuel, and that “[t]here are no documents related to an offer by a ‘billionaire
 25      investor’ to purchase the Siegels’ Superman rights.” DN 162-12 at 589.
 26         • And he said he had “no contact with any member of the Siegel family” until
 27      late summer “2002” and could not have interfered in 2001. DN 145-1 at 23-24.
 28    When Toberoff made these claims, he was knowingly suppressing non-privileged

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   1   evidence refuting each assertion. Michael and Laura’s May and July 2003 letters
   2   discuss the “billionaire investor,” supra at 2, and a November 17, 2001, email from
   3   Toberoff to Michael shows that Toberoff made direct contact with Michael in 2001.
   4   PD Ex. 25. Toberoff hid all of this evidence and more in this case.
   5            1. Toberoff Violates The December 7, 2010, Order
   6         When DC filed its complaint in this case in May 2010, Toberoff resisted
   7   discovery by moving to stay all discovery, including related to the Timeline. DN
   8   42 at 4-7, 40-61; 44-1 at 2-4, 8-11; 61 at 5-7, 32-55. This Court and the Ninth
   9   Circuit rejected these requests. DN 74 at 1-2; 163-2. After serving its very first
 10    document demands, DC was forced to move to compel when Toberoff refused to
 11    comply. DN 125. Unable to credibly oppose, Toberoff stipulated to a Court order
 12    waiving all objections to DC’s requests other than privilege, as long as he could
 13    produce documents, in part, by designating those the parties had already produced
 14    in Siegel. DN 132, 133.9 On December 7, 2010, the Court entered an order
 15    requiring Toberoff to produce all documents responsive to “each and every one” of
 16    DC’s requests on the Siegels and Shusters, except privileged documents, which he
 17    was ordered to log. DN 133. Toberoff’s ensuing production violated this order
 18    when he failed to produce or log the key letters between Michael and Laura.
 19             2. Toberoff Conceals The May 2003 Letter
 20          DC’s long road to obtaining the May 2003 letter—a document Toberoff now
 21    concedes is not privileged, DN 288 at 18:4-16—started with the Timeline. It
 22    described a May 13, 2003, letter from Michael to Laura concerning Toberoff’s
 23    misconduct and the “billionaire investor.” In December 2010 and January 2011,
 24    DC asked Toberoff (both as counsel for the Siegels and Shusters and as a defendant
 25    in this case) to review the Timeline documents and to produce the May 2003 letter
 26    if it was among them. DN 161 ¶ 26; 162-9 at 576-77; 162-11 at 583-84.
 27      9
           Toberoff insisted on tying discovery in this case to Siegel and argued discovery
 28    orders he obtained in Siegel should dictate here. E.g., DN 160 at 56-57, 66-78.

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   1         a. Toberoff refused to answer DC’s questions, and instead misled DC and the
   2   Court into believing the May 2003 document did not exist. He argued “the ranting
   3   anonymous ‘Timeline’ [is] inaccurate,” DN 162-10 at 581; and when DC pressed
   4   for the May 2003 letter, he said: “[as] to your claims that we have not produced
   5   certain documents alluded to in the ranting, anonymous Timeline, we have
   6   repeatedly stated that the inadmissible Timeline is extremely untrustworthy,” id. at
   7   589. Toberoff said: “to the extent that relevant documents exist, they have either
   8   been produced or designated as privileged…. There are no documents related to an
   9   offer by a ‘billionaire investor’ to purchase the Siegel’s Superman rights …. DC’s
 10    overzealous quest to find non-existent documents based on frivolous allegations in
 11    an anonymous incoherent ‘hit piece’ is unworthy of DC and its counsel.” Id.
 12          DC moved to compel in February 2010, DN 160 at 37-38, and Toberoff
 13    opposed, reiterating the Timeline was “untrustworthy” and “inaccurate.” Id. at 5,
 14    71. Toberoff represented to the Court all relevant documents had “either been
 15    produced or designated as privileged,” and chastised DC for “mov[ing] to compel
 16    non-existent documents based on the so-called ‘Toberoff Timeline.’” Id. In April
 17    2011, the Court ordered Toberoff to either “(a) produce [the May 2003 letter to DC]
 18    or (b) submit a verified further response to [DC] indicating that it does not exist or,
 19    if it already has been produced, identifying” where. DN 209 at 12.
 20          b. Left with no other option, Toberoff produced a single redacted copy of the
 21    May 2003 letter—a production plainly made to cover up his long suppression of the
 22    letter. First, while Toberoff told the Court the “‘redactions’ were of an attorney’s
 23    very limited marginalia and underlines on the sole copy of the May 13 letter that
 24    Defendants’ counsel located in its legal files,” DN 267-1 at 26, in truth, Toberoff
 25    made further redactions, as DC learned when it obtained the Timeline documents in
 26    2012. Toberoff redacted a fax header from the May 2003 letter, DN 288 at 17:20-
 27    22, which showed a date of July 6, 2003—a date on which no faxes appear on any
 28    of the Toberoff or Siegel privilege logs. DN 162-6 at 427; 163-17 at 892.

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   1         Second, Toberoff’s claim that he had produced his “sole copy,” DN 267-1 at
   2   26, of the May 2003 letter was false. When the Timeline documents were produced
   3   recently, four different “Q” Bates stamped copies of the letter were found among
   4   the Timeline documents in Toberoff’s files. Toberoff knew the copies were there.
   5   DC had asked him to search the Timeline documents for the May letter, DN 161 ¶
   6   26; 162-9 at 576-77; 162-11 at 583-84, and he had recently given copies of these Q-
   7   Bates-stamped documents to the U.S. Attorney, DN 205 at 4-12; 212 at 10.
   8         The Q-Bates-stamped copies of the May 2003 letter revealed the extent of
   9   Toberoff’s deception in his declarations and representations to the Court, as the Q-
 10    stamped copies uncracked the code of where and how Toberoff hid documents in
 11    his privilege logs. Supra at 9-11. DC had asked for any Q-stamped versions of the
 12    May 2003 letter to unlock the code. DN 296, 296-8. Knowing it would expose his
 13    privilege-log deceptions, Toberoff resisted, falsely claiming defendants “did not
 14    assert privilege” over the May 2003 letter and thus DC did not need “copies of
 15    copies” of the letter “‘to understand defendants’ privilege logs.’” DN 296-1 at 4-6.
 16             3. Toberoff Conceals The July 2003 Letter
 17          As with Michael’s May 2003 letter to Laura, the Timeline disclosed Laura’s
 18    July 2003 response, in which Toberoff’s misconduct is discussed. DN at 49, Ex. A
 19    at 65-66; 362-2 at 287. Defying the Court’s orders, including its December 7 order,
 20    Toberoff failed to produce or log the letter. DN 160 at 30-33, 37-38. DC raised the
 21    issue with Toberoff immediately. DN 162-9. Because entries #715 and #716 of the
 22    Siegels’ logs purported to be faxes from Laura to Toberoff dated July 11, 2003, DC
 23    asked Toberoff whether the July 2003 letter was an unidentified enclosure to these
 24    faxes. Id. at 576; 162-11 at 584. DC also asked him to agree to a court order “that
 25    parties may not withhold non-privileged communications in this case on the
 26    grounds they were later sent to a lawyer.” DN 162-9 at 576.
 27          Toberoff refused these requests. DN 162-10 at 581; 162-12 at 588. It was
 28    not until after DC filed four motions seeking the July 2003 letter, and after Laura

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   1   Siegel gave damaging testimony revealing the existence and non-privileged nature
   2   of the letter, that Toberoff finally admitted he had logged it as part of log entry #82.
   3   DN 160 at 30-33, 37-38; 225 at 13-17; 253 at 6-9; 316 at 6-20. Entry #82 makes
   4   no mention of Laura’s July 2003 letter to Michael, nor does it assert the “joint
   5   defense privilege” Toberoff would later (frivolously) claim justified his withholding
   6   the letter. DN 329 at 1-3; 362 at 5. Instead, the log entry states, DN 317-2 at 8:
   7
   8
             After Toberoff admitted how he had “logged” the July letter, DC filed a fifth
   9
       motion, and this Court, in October 2011, ordered him to produce it. DN 329 at 1-5;
 10
       336. Like the May 2003 letter, Toberoff knew exactly where the July 2003 letter
 11
       was all along. Laura testified Toberoff helped her draft the letter and gave him a
 12
       copy of it. PD Ex. 86 at 2591:12-15, 2593:11-12; 2596:11-14, 2598:22-2601:3.
 13
                4. Toberoff Conceals The July 5 Drafts
 14
             The Timeline also described a July 5, 2003, letter from Laura to Michael, DN
 15
       49, Ex. A at 65, which Toberoff neither produced nor logged as the Court’s orders
 16
       required. DC complained, and as before, Toberoff refused to confirm whether the
 17
       letter existed, condemned DC for relying on the “untrustworthy” Timeline, and
 18
       assured DC that all documents had been produced or logged. DN 162-12 at 589.
 19
             DC moved to compel, and Toberoff opposed, arguing “[t]he Timeline refers
 20
       to numerous documents that do not exist.” DN 160 at 71-72 & n.2. Toberoff said
 21
       he was “unable to identify a document that matched the Timeline’s description of
 22
       the July 5 document” and the “letter does not exist.” Id.; DN 231 at 20; see DN 177
 23
       at 51:14-15 (“[W]e specifically pointed out that this letter does not exist.”).
 24
             These representations were false, but they succeeded in misleading the Court
 25
       to accept Toberoff’s claim “that the document does not in fact exist so far as
 26
       Defendants know.” DN 209 at 12 n.2. DC moved for reconsideration, noting the
 27
       July 5 letter could be “a draft letter” or differ in some trivial way from the
 28
       Timeline’s description. DN 253 at 9. Toberoff stood his ground: “As previously
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   1   stated, this purported July 5 letter from Laura Siegel to Michael Siegel does not
   2   exist as described.” DN 269 at 13. Judge Zarefsky refused reconsideration. But
   3   when DC received the Timeline documents in May 2012, Toberoff’s deception was
   4   plainly exposed. It contained nine copies of the July 5 letter. PD Ex. 31. Precisely
   5   as DC had expected and noted in urging reconsideration, the July 5 letter was an
   6   earlier version of the July 11 letter that Toberoff and Laura had drafted.
   7            5. Toberoff Conceals The November 2002 Letter
   8         The May 2003 letter disclosed another concealed document; in his opening
   9   line, Michael thanked Laura for her “letter of November 2 of last year.” DN 225-4
 10    at 3. Toberoff never produced or logged the November letter, and refused to turn it
 11    over even though the May 2003 letter disclosed it. When DC moved to compel,
 12    Toberoff assured the Court: “I caused my office to re-check our relevant case files.
 13    There’s no November 2nd letter appearing in our files.” DN 267-16, ¶ 4; DN 288
 14    at 38:23-25 (“[W]e did perform a diligent search of our records, all of our records,
 15    and there’s no November 2nd letter as described.”). Judge Zarefsky denied DC’s
 16    motion because Toberoff represented he “conducted a diligent and reasonable
 17    search, and … [it] disclosed no November 2nd, 2002, letter.” DN 288 at 43-44:2.
 18          DC also sought to obtain the November 2002 letter from Bulson and Renner.
 19    In Siegel, Toberoff produced logs for Bulson in 2006, but they made no mention of
 20    the November letter. DN 332-1. However, DC learned in 2011 that Renner kept an
 21    electronic archive of all of Michael’s files—paper copies of which had been sent to
 22    lawyers for the Estate and Toberoff in 2006. PD Ex. 56 at 985. Renner agreed, if
 23    DC would pay the cost, to log all documents in its archive, so DC could compare
 24    Renner’s log to Toberoff’s logs and productions. Id. Exs. 20, 58, 62.
 25          Toberoff immediately intervened, insisting that only he could prepare a log.
 26    PD Exs. 21, 61, 63. But for months, he refused to do so, id., and only when DC
 27    threatened to move to compel, id., did he finally relent and provide a new Bulson
 28    log, DN 362-2 at 295-318. The log contained 224+ entries that had never been

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   1   produced or logged before—and all of which pre-date 2006. DN 362-2 at 319-21.
   2         One new entry—# 399—was the November 2002 letter. DN 362-2 at 311.
   3   Even though he had failed to log the letter for more than five years, Toberoff still
   4   refused to produce it, claiming it was not among the hard copy documents he
   5   possessed in 2006. DN 412 at 7-11. Both Renner, and sworn declarations Toberoff
   6   and his associate filed in Ohio in 2006, all confirmed he received the full Bulson
   7   Michael Siegel file in 2006. DN 362-2 at 319; 427-2 at 4; 477 at 1-7; 477-2 at 48-
   8   53. Beyond that falsehood, Toberoff also claimed it was privileged, but as we now
   9   know, the letter is not remotely privileged. DN 451 at 6. Toberoff withheld it
 10    because it exposed his business frauds. In the letter, Laura writes to Michael:
 11          My mother and I have had extensive meetings with Toberoff and
             Emanuel in the past few weeks. We learned … the billionaire investor
 12          who was offering $15 million up front plus participation thought it was
 13          a hopeless situation and invested his money elsewhere.

 14    DN 455-2 at 4. Laura’s letter both confirms that Toberoff made promises about the

 15    non-existent billionaire investor, and disproves Toberoff’s recently invented claim

 16    that Emanuel was the “investor.” DN 145-1 at 8; 231 at 17. Laura’s letter plainly

 17    distinguishes between Emanuel and the “investor”—they are not one and the same.

 18             6. Toberoff Conceals The November 2001 Email

 19          Also among the 224+ newly logged documents on the new Bulson log was a

 20    November 17, 2001, email from Toberoff to Michael. DN 362-2 at 309 (#339). In

 21    his SLAPP motion, Toberoff had told the Court that he had “no contact with any

 22    member of the Siegel family” until late summer “2002.” DN 145-1 at 23-24. The

 23    logging of the November 2001 email proved this was untrue.

 24          DC moved to obtain the email, arguing any asserted claim of privilege was

 25    waived by Toberoff’s failure to log it for five years. DN 394 at 3-9; 455. In July

 26    2012, the Court granted DC’s motion. DN 457. In a failed motion for

 27    reconsideration, Toberoff swore he “first received the November 2001 Email in

 28    2011 as part of Renner Otto’s electronic database of Michael’s client files,” and

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   1   argued he did not receive the email from Renner or the Estate in 2006. DN 466-1 ¶
   2   17; 475 at 3-4. Three independent sources disproved this claim: Renner;
   3   declarations Toberoff and his associate filed in 2006; and a recent document
   4   production by the Estate, which includes the very November 2002 letter and
   5   November 2001 email Toberoff falsely said the Estate did not have. DN 362-2 at
   6   319; 427-2 at 4; 477 at 1-7; 477-2 at 48-53; PD Exs. 76 at 1634, 39.
   7            7. Toberoff’s Misconduct Permeates Every Aspect Of These Cases
   8          Toberoff’s suppressions are not limited to the documents that have been
   9   disclosed to date. There is correspondence between Michael and Laura (including
 10    an October 2, 2002, letter from Michael to Laura cited in her November 2002
 11    letter), which Toberoff refuses to produce. Toberoff also refuses to produce the
 12    224+ documents listed five years too late on the new Bulson log, as well as the
 13    Emanuel documents the Timeline discloses. Toberoff also deceived the Courts and
 14    DC regarding Emanuel’s involvement in the USAO investigation, and he continues
 15    to assert overreaching privilege claims to block discovery of business agreements
 16    like the Consent Agreement, as well as damaging testimony in depositions,
 17    including his own. PD ¶¶ 11-20; Exs. 2, 5, 8, 14, 16, 18, 19.
 18    III.   TOBEROFF’S MISCONDUCT SHOULD BE INVESTIGATED AND
 19           REMEDIED THROUGH AN EVIDENTIARY HEARING
 20           Toberoff has systematically concealed evidence, exploiting his status as a
 21    litigator and officer of the court. While certain third parties, such as the Timeline
 22    author and the files of the Renner Otto firm, have enabled DC to uncover pieces of
 23    Toberoff’s deception, this Court should hold an evidentiary hearing to ascertain the
 24    full range of Toberoff’s misconduct. The Ninth Circuit has noted that evidentiary
 25    hearings are the “best” method to “determine[] appropriate sanctions” for discovery
 26    misconduct, Wyle, 709 F.2d at 592, and during this hearing, Toberoff and other
 27    witnesses should be examined, Brotby, 364 F.3d at 1114; supra n.4. This process
 28    would enable the Court to confirm what sanctions are warranted, and such a hearing

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   1   is especially important given that Toberoff and his counsel refuse to let him testify
   2   on discovery issues. PD Ex. 87 at 2623:10-2624:7.
   3          This Court has broad power to impose sanctions under its inherent authority
   4   or Rule 37. Leon v. IDX Sys. Corp., 464 F.3d 951, 958 (9th Cir. 2006). By evading
   5   his discovery obligations and court orders—and lying about it—Toberoff has
   6   “ma[de] it impossible for [the] court to be confident [DC] will ever have access to
   7   the true facts,” Valley Eng’rs, 158 F.3d at 1058. Toberoff’s misconduct warrants
   8   terminating sanctions on DC’s Fifth Claim and perhaps others. Alternative relief—
   9   such as findings of privilege waiver, evidentiary sanctions, or awarding DC its
 10    fees—are appropriate. Given the dispositive nature of this motion and the pressing
 11    need for relief, DC files this motion with this Court, and seeks an immediate
 12    hearing. The Court could employ a special master to help investigate these issues.
 13           A. Terminating Sanctions. “It is well settled that dismissal is warranted
 14    where, as here, a party has engaged in deliberatively deceptive practices that
 15    undermine the integrity of judicial proceedings.” Anheuser-Busch, 69 F.3d at 348.
 16    In such cases, dismissal is “encourage[d].” G-K Props. v. Redevelopment Agency
 17    of the City of San Jose, 577 F.2d 645, 647 (9th Cir. 1978). Courts impose
 18    terminating sanctions where “counsel or [a] party has acted willfully or in bad faith
 19    in failing to comply with rules of discovery or with court orders.” Id. “Bad faith is
 20    exhibited … [by] delaying or disrupting litigation,” E. & J. Gallo Winery v. Gibson,
 21    Dunn & Crutcher LLP, 432 Fed. Appx. 657, 659 (9th Cir. 2011), or “[d]isobedient
 22    conduct,” In re Phenylpropanolamine Prods. (“PPA”) Liab. Litig., 460 F.3d 1217,
 23    1233 (9th Cir. 2006).
 24           Under the Ninth Circuit’s “five-part” test,10 courts grant terminating
 25    sanctions for conduct much like defendants’ here. Valley Eng’rs, 158 F.3d at 1057.
 26      10
            Anheuser-Busch, 69 F.3d at 348: “(1) the public’s interest in expeditious
 27    resolution of litigation; (2) the court’s need to manage its dockets; (3) the risk of
       prejudice to the party seeking sanctions; (4) the public policy favoring disposition
 28    of cases on their merits; and (5) the availability of less drastic sanctions.”

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   1   In Valley Engineers, for example, plaintiffs learned of the existence of one
   2   smoking-gun memo in defendants’ files by being “sharp enough to spot what was
   3   not there.” Id. Defendants “continued to refuse to produce the memorandum …
   4   even after it was plain that [plaintiffs] had figured out it must exist.” Id. at 1058. In
   5   affirming terminating sanctions, the Ninth Circuit held: “Considering how
   6   [defendants] acted regarding the [] memorandum, it was a reasonable inference that
   7   if there was other discoverable material harmful to its case that its adversaries did
   8   not know about, it would be hidden forever.” Id. Terminating sanctions were
   9   appropriate because the defendants had “so damage[d] the integrity of the discovery
 10    process that there can never be assurance of proceeding on the true facts….” Id.;
 11    accord North Am. Watch, 786 F.2d at 1449; Hester v. Vision Airlines, Inc., 687
 12    F.3d 1162, 1169-71 (9th Cir. 2012).
 13          Here, Toberoff has violated three court orders, submitted four false and
 14    misleading declarations, made misrepresentations to the Court, bogged down the
 15    Court for years in his efforts to hid the ball, and otherwise subverted DC’s right to a
 16    fair search for the truth in both this case and the Siegel case. Such conduct warrants
 17    terminating sanctions, on at least DC’s claims against Toberoff, and neither his
 18    “late tender of evidence,” nor self-serving explanations why the concealed Michael-
 19    Laura letters somehow help his defense are valid bases to avoid this result. Id.;
 20    Brotby, 364 F.3d at 1115; PPA, 460 F.3d at 1227-28; Anheuser-Busch, 69 F.3d at
 21    353-54; G-K Props., 577 F.2d at 648; PD Exs. 5 at 62-87; 7 at 92-100; 8 at 101-03.
 22    The Court’s orders gave Toberoff multiple opportunities to comply. Rather than do
 23    so, his conduct shows he does “not take [his] oath to tell the truth seriously and …
 24    will say anything at any time in order to prevail.” Anheuser-Busch, 69 F.3d at 352.
 25    Because there is no guarantee Toberoff will cease his misconduct if the Court were
 26    to impose lesser sanctions, terminating sanctions are justified. Id.
 27          B. Appointing A Special Master. The Court has inherent authority, and
 28    authority under Rule 53, to appoint a special master to help it address Toberoff’s

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   1   misconduct. FED. R. CIV. P. 53(a)(1)(C); U.S. v. Conn., 931 F. Supp. 974, 984 (D.
   2   Conn. 1996). The sheer number of discovery disputes here—and the time it takes
   3   to resolve them under Local Rule 37 (a lag-time Toberoff exploits)—justifies
   4   appointing a special master to handle document discovery issues in an expedited
   5   manner, and to attend and supervise depositions.11 A special master could also be
   6   appointed to police Toberoff’s compliance with discovery—both under the Court’s
   7   past orders, and in conjunction with relief it orders on this motion. E.g., Nat’l Ass’n
   8   of Radiation Survivors v. Turnage, 115 F.R.D. 543, 560 (N.D. Cal. 1987)
   9   (“incorrect or false responses to discovery requests, and a failure to divulge
 10    information and produce documents” justified appointment); 3 WRIGHT ET AL., FED.
 11    PRAC. & PROC. § 2602.1 (2012) (same); Wachtel v. Health Net, Inc., 239 F.R.D. 81,
 12    111-13 (D.N.J. 2006). The special master could also assess Toberoff’s claims of
 13    privilege.12 DC is willing to advance the cost of any special master in the first
 14    instance, provided he has authority to impose those costs on Toberoff, as warranted.
 15    See also PD ¶¶ 9-10 (discussing defendants’ response to special master proposal).
 16           C. Waiver of Privilege. Toberoff’s misconduct justifies a waiver of
 17    privilege over all documents withheld.13 “[P]reventing a party from asserting the
 18
         11
             E.g., Trusz v. UBS Realty Investors LLC, 2010 WL 3583064, at *5 (D. Conn.
 19    Sept. 7, 2010) (special master “particularly appropriate” where counsel repeatedly
 20    “have imposed upon th[e] Magistrate Judge”); Jadwin v. Abraham, 2008 WL
       4057921, at *7 (E.D. Cal. Aug. 22, 2008); Moreland v. State Farm Mut. Auto. Ins.
 21    Co., 2007 WL 1033453, at*4-5 (D. Colo. Apr. 3, 2007); In re Application of
       Chevron Corp., 736 F. Supp. 2d 773, 784-85 (S.D.N.Y. 2010) (depositions);
 22    Harmston v. City & Cnty. of San Francisco, 2007 U.S. Dist. LEXIS 87144, at *28-
 23    29 (N.D. Cal. Nov. 6, 2007) (same).
          12
             E.g., Atl. Fed. Sav. & Loan Ass’n of Ft. Lauderdale v. Blythe Eastman Paine
 24    Webber, Inc., 890 F.2d 371, 375 (11th Cir. 1989); Doctor’s Assocs., Inc. v. QIP
 25    Holders LLC, 2009 WL 1668573, at *1 (D. Conn. June 15, 2009).
          13
             Cf. Walnut, 475 B.R. at 233 (waiver where party “inexcusably obstructed the
 26    prosecution of this adversary proceeding” and court’s “ability to efficiently and
 27    justly rule on the issues”); accord Ritacca v. Abbott Labs., 203 F.R.D. 332, 335
       (N.D. Ill. 2001); Get-A-Grip, II, Inc. v. Hornell Brewing Co., 2000 WL 1201385, at
 28    *3-4 (E.D. Pa. Aug. 8, 2000); Bankatlantic v. Blyth Eastman Paine Webber, Inc.,

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   1   attorney-client privilege is a legitimate sanction for abusing the discovery process”
   2   when a court “finds bad faith, willfulness, or fault.” Teleglobe Comm’cs Corp. v.
   3   BCE, Inc., 493 F.3d 345, 386 (3d Cir. 2007); see FED. R. CIV. P. 26 Advisory
   4   Committee Notes (failure to comply with Rule 26(b)(5) “may be viewed as a
   5   waiver of the privilege or protection”). Courts find bad faith “where counsel has
   6   ‘disregarded’ its professional responsibilities in the discovery process or to the
   7   court.” Bankatlantic, 127 F.R.D. at 231; see Cline Forty-Second Street Theatre
   8   Corp. v. Allied Artists Pictures Corp., 602 F.2d 1062, 1067 (2d Cir. 1979); Ritacca,
   9   203 F.R.D. at 335 (“cavalier attitude towards following court orders and the
 10    discovery rules supports finding waiver”). At a minimum, the Court can and
 11    should order Toberoff to produce all documents, including attachments to fax cover
 12    sheets and the like that Toberoff never separately logged,14 as well as the 224+ new
 13    documents on the Bulson log, supra at 19-21, and all documents from 2000 to 2004
 14    when Toberoff acted predominantly as a businessman and entrepreneur, while
 15    invoking his status as a lawyer purposefully to shield relevant evidence, id. at 12.
 16    IV.   CONCLUSION
 17          DC’s motion should be granted.
 18    Dated:    October 10, 2012                  Respectfully submitted,
 19                                                O’MELVENY & MYERS LLP

 20                                                By: /s/ Daniel M. Petrocelli
                                                     Daniel M. Petrocelli
 21
 22
 23
       127 F.R.D. at 233, 234-36 (S.D. Fla. 1989).
 24       14
             E.g., O’Connor v. Boeing N. Am., Inc., 185 F.R.D. 272, 280 (C.D. Cal. 1999)
 25    (“To claim the attorney-client privilege or work product doctrine for an attachment
       to, or enclosure with, another privileged document, the attachment or enclosure
 26    must be listed as a separate document on the privilege log; otherwise, such
 27    attachment or enclosure must be disclosed.”); C.T. v. Liberal Sch. Dist., 2008 WL
       217203, at *9 (D. Kan. Jan. 25, 2008) (privilege waived where attachments were
 28    not “separately listed” on plaintiff’s initial or amended logs).

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